         Case 3:15-cv-01836-AWT Document 171 Filed 08/31/20 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

ROBERT SCOTT BATCHELAR,                           :     Case No. 3:15-cv-01836-AWT
                      Plaintiff,                  :
                v.                                :
INTERACTIVE BROKERS, LLC,                         :
INTERACTIVE BROKERS GROUP, INC.,                  :
and THOMAS A. FRANK,                              :
                     Defendants.                  :     August 31, 2020

    DEFENDANTS’ RESPONSE TO PLAINTIFF’S NOTICE OF DISCOVERY DISPUTE

       Defendants Interactive Brokers LLC, Interactive Brokers Group, Inc., and Thomas A.

Frank respond as follows to Plaintiff’s Notice of Discovery Dispute (ECF No. 169).1

       Four-and-a-half years after the commencement of this action, Plaintiff has still not

identified which aspect of Defendants’ source code he believes was negligently designed.

Defendants’ auto-liquidation system is the subject of this litigation. More than a year ago,

Defendants made available a large volume of source code in satisfaction of this Court’s prior

direction, including the full code that deals with identifying positions to be liquidated.

       Even after reviewing this source code, Plaintiff has not identified a pertinent flaw in

Defendants’ auto-liquidation system, and thus has decided that he needs more code. However,

Plaintiff has not articulated what additional code he needs or why. In prior correspondence,

Plaintiff has vaguely requested additional portions of the order-routing source code, yet such

requests, to the extent they can even be understood, appear to seek code that is not relevant to the

parties’ claims or defenses in this litigation. Ostensibly, Plaintiff is seeking the entirety of

Defendants’ order-routing software, which is a proprietary and highly confidential system. Since

Plaintiff has not identified the portion of the source code that he believes to be flawed, he has


1
       Pursuant to the Court’s instruction, Defendants will provide the Court with the discovery
       correspondence referred to in Plaintiff’s notice.



                                                  1
        Case 3:15-cv-01836-AWT Document 171 Filed 08/31/20 Page 2 of 4



necessarily failed to demonstrate that additional order-routing source code—or any other portion

of the source code—is relevant to and discoverable in this case.

       Plaintiff also seeks to re-argue Judge Bryant’s ruling about the measures necessary to

ensure the confidentiality of Defendants’ source code, so that Plaintiff’s counsel and his experts

can review the source code remotely over the internet. The parties litigated the scope of the

source code protections, Defendants explained in detail the highly confidential nature of their

source code and the efforts they take to maintain its confidentiality, and Judge Bryant ordered the

parties to submit a protective order that complied with her ruling. See ECF No. 126. The

resulting protective order requires Plaintiff’s counsel and experts to review source code materials

at the office of Defendants’ counsel in Hartford on computers that have had their internet

connections disabled. See ECF Nos. 127 & 136.

       Defendants should not be required to compromise the restrictions necessary to protect

their source code, the confidentiality of which is crucial to their business. Another court has

recently agreed in an analogous case and has stayed a patent lawsuit rather than require the

defendant to relocate its source code from the parties’ agreed-upon location because of COVID-

19. Uniloc 2017 LLC v. Athenahealth, Inc., No. 1:19-cv-11278-RGS, ECF No. 60 (D. Mass.

July 29, 2020). The court in Uniloc did not require the defendant to take even the risk of

transporting its source code to a new location for offline review. The COVID-19 pandemic

therefore provides no justification that would require Defendants in this case to take the much

larger risk of making their source code available remotely through an online platform.

                                             DEFENDANTS INTERACTIVE BROKERS
                                             LLC, INTERACTIVE BROKERS GROUP,
                                             INC., and THOMAS A. FRANK,

                                                 By: /s/ Gary J. Mennitt

                                                     Gary J. Mennitt (ct29948)
                                                2
Case 3:15-cv-01836-AWT Document 171 Filed 08/31/20 Page 3 of 4



                                  Dechert LLP
                                  1095 Avenue of the Americas
                                  New York, NY 10036
                                  Phone: (212) 698-3500
                                  Fax: (212) 698-3599
                                  E-mail: gary.mennitt@dechert.com

                                  Thomas D. Goldberg (ct04386)
                                  Andraya Pulaski Brunau (ct29715)
                                  Matthew W. Austin (ct30947)
                                  Day Pitney LLP
                                  242 Trumbull Street
                                  Hartford, CT 06103
                                  Phone: (860) 275-0100
                                  Fax: (860) 275-0343
                                  Email: tgoldberg@daypitney.com
                                  Email: abrunau@daypitney.com
                                  Email: maustin@daypitney.com

                                  Their Attorneys




                              3
        Case 3:15-cv-01836-AWT Document 171 Filed 08/31/20 Page 4 of 4



                                      CERTIFICATION

       I hereby certify that on August 31, 2020, a copy of foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.

                                                /s/ Gary J. Mennitt
                                                Gary J. Mennitt (CT29948)




                                                4
